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                     EXHIBIT 4
         Bongiovi Dispute Resolutions
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                   BONGIOVI DISPUTE RESOLUTIONS
BDR                Joseph J. Bongiovi III
                   BACKGROUND, CONTACT AND RATE INFORMATION
                                                  ____________________
Joe Bongiovi is the principal of Bongiovi Dispute Resolutions, a law firm with a practice limited to alternative dispute resolu-
tion - mediation and arbitration. Mr. Bongiovi was born in Elizabeth, New Jersey, and has been a resident of Las Vegas,
Nevada, since 1970. He graduated from UNLV with a Bachelor’s Degree in Psychology and then received his law degree from
the University of San Diego School of Law having earned honors in trial advocacy while in attendance. He is admitted to
practice before all state and federal courts in Nevada and before the U.S. Circuit Court of Appeals, Ninth Circuit. Mr. Bongiovi
carries an A/V rating from Martindale-Hubbell and is listed in their Bar Register of Preeminent Lawyers. He is also a member of
Outstanding Lawyers of America and is listed in Who’s Who in Dispute Resolution. In April 2006, Mr. Bongiovi was also listed
among “The Lawdragon 500 Leading Judges in America” following a national survey of lawyers and judges by the Lawdragon
publication. In 2007, he was accepted as a Fellow of the American College of Civil Trial Mediators. In 2010, he was named a
Super Lawyer in ADR and was later invited to become a charter member of the National Academy of Distinguished Neutrals.

Having represented insurers, insureds and self-insured entities while in litigation practice, Mr. Bongiovi limited his practice to
mediation and arbitration in 1996 when he established Bongiovi Dispute Resolutions. He then became the first full-time me-
diator based in southern Nevada. BDR is exclusively an ADR firm. No representation of clients occurs. Since forming BDR, Mr.
Bongiovi has performed over 3000 mediations and arbitrations in disputes involving personal injury/wrongful death, malprac-
tice, insurance/bad faith, commercial, intellectual property, contract and employment matters. He handles disputes in pre-
litigation, litigation and appellate stages. Mr. Bongiovi’s settlement rate in mediation remains quite high, and he is privileged
to enjoy an exemplary reputation for professionalism and success in ADR.

Education
• University of San Diego Law School, J.D. (1986): Int’l Academy of Trial Lawyers Award for Excellence in Trial Advocacy
• University of Nevada, Las Vegas, B.A. Psychology (1983): Fleischmann Scholar

Legal Career
• Bongiovi Dispute Resolutions (1996-present): Practice limited to full-time ADR of all matters except domestic and
construction defect cases. Matters include personal injury/wrongful death, insurance coverage/bad faith, product liability,
premises liability, security misconduct, professional malpractice, contract, intellectual property, commercial and employment
disputes.
• Bongiovi & Silvestri, Chtd. (1993-1996): Practice included defense of insureds, insurers and self-insured entities
in personal injury/death, coverage/bad faith/fraud, product liability, defamation, premises liability, security misconduct,
professional malpractice, construction defect, contract and commercial disputes.
• Joseph J. Bongiovi III, Chtd. (1990-1993): Practice included defense of insureds, insurers and self-insured entities
in personal injury/death, coverage/bad faith/fraud, product liability, defamation, premises liability, security misconduct, pro-
fessional malpractice, construction defect, contract and commercial disputes. Reported Decision: Farmers Ins. Exchange v.
Young, 832 P.2d 376 (Nev. 1992).
• Beckley, Singleton, DeLanoy, Jemison & List (1986-1990): Practice included defense of insureds, insurers and
self-insured entities in personal injury/death, coverage/bad faith/fraud, product liability, defamation, premises liability,
security misconduct, professional malpractice, contract and commercial disputes.

ADR Experience
• Full-time practice devoted exclusively to ADR since 1996: over 3000 matters handled; 150-200 matters handled per year
• Accepted invitation to participate in Nevada Supreme Court Appellate Mediation Training Program
• Ongoing continuing education as time allows, including programs in ADR, negotiation and insurance coverage
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BONGIOVI DISPUTE RESOLUTIONS
Background, Contact and Rate Information, continued


Lecturer/Articles
• Settlement Conference and Mediation: Tactics and Preparation (to Nevada Bar)
• “Avoiding Pitfalls in ADR” Communique (August & September 2006)
• Medical Malpractice Issues (to American Ass’n for Thoracic Surgery, 2004 annual meeting/plenary session)
• ADR in Bad Faith Cases (to Nevada Bar and claims professionals)
• General Principles of Mediation (to Mediators of Southern Nevada)
• Settling Insurance Claims (to Nevada bar and claims professionals)
• Insurance Coverage (to Nevada bar and claims professionals)
• Auto Insurance Coverage and Claims (to Nevada bar and claims professionals)
• Defending Against the Soft Tissue Claim (to Nevada bar and claims professionals)
• Settlement Conference/Mediation Techniques (to Nevada bench)

Affiliations
• Fellow, American College of Civil Trial Mediators
• Charter Member, National Academy of Distinguished Neutrals
• Association for Conflict Resolution (formerly SPIDR)
• American Arbitration Association
• ABA Section of Dispute Resolution
• State Bar of Nevada Section of Dispute Resolution
• Clark County Bar Association
• Resolute Systems

References and Representative Clients
BDR has been retained by nearly every major law firm in Las Vegas, Nevada, as well as many major insurance carriers includ-
ing AIG, Allstate Insurance, ALPS, American National P&C, American Physician’s Assurance, Amica, CSAA Interinsurance Bu-
reau, Cigna, CNA, CNA MedPro, Colonial Penn, The Doctors’ Company, Farmers Insurance Group, Fireman’s Fund, GE Casu-
alty, GEICO, Hartford, Hawkeye Insurance, Insurance Company of the West, Kemper Insurance, Liberty Mutual Insurance,
Nationwide, Progressive Insurance, Prudential Insurance, Safeco, St. Paul, State Farm, Travelers Insurance, UNUM/Provident,
USAA and Zurich American, to assist them in resolving their disputes. Additionally, self-insured entities, including Bridge-
stone/Firestone, Columbia/HCA, Dunlop Tire Corporation, Ford Motor Company, General Growth Properties, General Mo-
tors, MGM-Mirage, Michelin Tires, Tenet Healthcare Corporation, United Health Services, Vons and Wal-Mart Stores, to name
a few, have also used BDR to resolve their disputes. A partial list of past law firm clients can be found at www.bongiovi.com.

Rates and Contact Information
Mr. Bongiovi charges $400 per hour, plus costs, and $175 per hour for travel time. There are no administrative fees or
charges. Cancellations or continuances occurring within two weeks of the mediation/arbitration date will incur a $2,000 can-
cellation fee.

BDR’s administrative office is located at its mailing/delivery address: 2807 Middle Earth Street, Las Vegas, Nevada 89135.
All proceedings are held at 9510 W. Sahara Avenue, Suite 225, Las Vegas, Nevada 89117.
BDR can be contacted by telephone at (702) 889-4600 or by fax at (702) 364-2092.
For scheduling, administrative or billing: Mr. Bongiovi’s assistant Kathy can also be reached at kathy@bongiovi.com
Mr. Bongiovi’s email address is joe@bongiovi.com. The firm’s website is located at www.bongiovi.com.
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